                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                           5:03CV50-02-V
                           (5:01CR5-11-V)


HEATH BLAKE WINKLER,          )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court on the petitioner’s “Motion

To Vacate, Set Aside, Or Correct Sentence” under 28 U.S.C. §2255,

filed April 21, 2003; on the “Government’s Answer To Petitioner’s

Motion And Motion For Summary Judgment,” filed June 10, 2003; on

the petitioner’s “Traverse,” filed June 23, 2003; and on the

petitioner’s “Amendment [T]o Original Motion Under 28 U.S.C.

§2255 Pursuant [T]o Rule 55(b)(2-3) and Rule 60(b) Fed.R.Civ.P.”

construed as a motion for leave to amend, filed August 17, 2004.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on March

13, 2001, a single-count Bill of Indictment was filed, naming the

petitioner and 23 other individuals as defendants.           Such Indict-

ment charged the petitioner and his co-defendants with conspiring

to possess with intent to distribute 50 grams or more of cocaine

base and 5 kilograms or more of powder cocaine, all in violation




    Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 1 of 13
of 21 U.S.C. §§841(a)(1) and 846.       The Indictment also noted that

in June 1994 and March 1998, the petitioner had been convicted by

the State of North Carolina of a total of three separate felony

drug offenses.   Thereafter, on April 23, 2001, the government

filed an Information pursuant to 21 U.S.C. §851, formally listing

the petitioner’s prior felony drug convictions as one for posses-

sion with intent to sell and deliver crack cocaine on March 2,

1998, and two for selling and delivering cocaine on June 7, 1994.

     Next, on July 18, 2001, the petitioner entered into a

written Plea Agreement with the government.         By the terms of that

Agreement, the petitioner agreed to plead guilty to the conspira-

cy charge set forth in the Indictment.        In addition, the

petitioner stipulated that he could be held accountable for his

involvement with more than 1.5 kilograms of crack cocaine; and

that there was an adequate factual basis to support his guilty

plea.

     On August 14, 2001, the Court conducted a Plea & Rule 11

Hearing, during which the undersigned engaged the petitioner in a

lengthy colloquy to ensure that his guilty plea was being intel-

ligently and voluntarily tendered.      After considering the

petitioner’s responses to the Court’s numerous questions, the

Court found that the petitioner’s guilty plea was knowingly and

voluntarily tendered, and it accepted the plea.

     On November 13, 2001, the United States Probation Office


                                    2


    Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 2 of 13
prepared a Pre-Sentence Report.      Such Report noted that two of

the three matters which were set forth in the government’s §851

Notice did not result in felony drug convictions.            Accordingly,

the Report advised that the petitioner’s statutory minimum

mandatory term was not life, but 20 years imprisonment by virtue

of his single prior felony drug conviction.

     More significantly, the Report pointed out that in light of

the amount of drugs to which the petitioner had stipulated

(resulting in an adjusted Total Offense Level of 35) and the fact

that he had numerous prior convictions (placing him in Criminal

History Category V), the petitioner’s Guidelines range was 262 to

327 month imprisonment.      The Probation Office recommended, in the

absence of a request for a downward departure, that the peti-

tioner receive the minimum mandatory Guidelines sentence of 262

months imprisonment.

     On April 17, 2002, the Court conducted a Factual Basis &

Sentencing Hearing in this matter.      Upon its review of the

petitioner’s Pre-Sentence Report, the Court adopted the findings

regarding the relevant sentencing range as set forth therein.               In

particular, the Court adopted the Report’s finding that the peti-

tioner’s only prior felony drug conviction was the one he

sustained on March 2, 1998; and that, based upon the facts of

this case and his prior criminal record, the petitioner’s range

of imprisonment was 262 to 327 months.


                                    3


    Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 3 of 13
     Next, however, the government made an oral motion for a

downward departure pursuant to U.S.S.G. §5K1.1 and 18 U.S.C.

§3553(e), based upon the petitioner’s substantial assistance.

After hearing from the parties, the Court granted the govern-

ment’s motion, and departed from Offense Level 35 to Level 29.

The Court then sentenced the petitioner to a term of 144 months

imprisonment--that is, to a term which was nearly ten years less

than the minimum sentence he otherwise was facing under the

Guidelines.

     The petitioner did not directly appeal his conviction or

sentence.   Instead, on April 21, 2003, the petitioner filed the

instant Motion to Vacate, alleging that he was subjected to inef-

fective assistance of counsel in two respects.

     Specifically, the petitioner claims that counsel was

ineffective for having failed to object to the Court’s use of a

prior felony drug offense for enhancement purposes because such

prior offense did not involve his selling, distributing, or

manufacturing a controlled substance.       Also, the petitioner

alleges that counsel was ineffective for having failed to object

to use of that prior conviction since it was sustained for con-

duct in which he engaged during the same time as the instant

conspiracy.

     On June 10, 2003, the government’s combined Answer and

Motion for Summary Judgment was filed.        By that document, the


                                    4


    Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 4 of 13
government asserts that even assuming that the petitioner’s prior

felony drug conviction involved his possession of cocaine rather

than his having engaged in some other unlawful activity with

those substances, he still is not entitled to any relief on this

challenge.   On the contrary, the government argues that the con-

viction in question still was for a felony drug offense;

therefore, it properly was relied upon by the Court.            Moreover,

by virtue of its motion for a downward departure, the government

argues that the petitioner ultimately received a sentence far

below both his statutory and Guidelines minimum terms.            There-

fore, the government contends that the petitioner cannot

demonstrate either a deficiency or any prejudice as a result of

counsel’s conduct in this case.

     Now, having carefully reviewed the matters before it, the

Court finds that the petitioner has failed to forecast any facts

which could raise a genuine issue of material fact concerning the

propriety of his sentence; and that the government is entitled to

a judgment as a matter of law.      Accordingly, the government’s

Motion for Summary Judgment will be granted, and the petitioner’s

Motion to Vacate will be denied and dismissed.

                             II.   ANALYSIS

          1.   The petitioner’s claims that coun-
               sel was ineffective is baseless.

     With respect to allegations of ineffective assistance of

counsel, a petitioner must show that counsel's performance was

                                    5


    Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 5 of 13
constitutionally deficient to the extent it fell below an

objective standard of reasonableness, and that he was prejudiced

thereby.   Strickland v. Washington, 466 U.S. 668, 687-91 (1984).

In making this determination, there is a strong presumption that

counsel's conduct was within the wide range of reasonable

professional assistance. Id. at 689; see also Fields v. Attorney

Gen. of Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474

U.S. 865 (1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31

(4th Cir. 1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo

v. Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     Furthermore, in considering the prejudice prong of the

analysis, the Court must not grant relief solely because the

petitioner can show that, but for counsel’s performance, the

outcome of the proceeding would have been different.              Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S.

855 (1999).    Rather, the Court “can only grant relief under . . .

Strickland if the ‘result of the proceeding was fundamentally

unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506

U.S. 364, 369 (1993).        Under these circumstances, the petitioner

“bears the burden of proving Strickland prejudice.”              Fields, 956

F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31.              If the peti-

tioner fails to meet this burden, a “reviewing court need not

consider the performance prong.”          Fields, 956 F.2d at 1290,


                                      6


    Case 5:01-cr-00005-KDB     Document 708   Filed 08/29/05   Page 6 of 13
citing Strickland, 466 U.S. at 697.

     More critically, a petitioner who alleges ineffective assi-

stance of counsel following the entry of a guilty plea has an

even higher burden to meet.      See Hill v. Lockhart, 474 U.S. at

53-59; Fields, 956 F.2d at 1294-99; and Hooper v. Garraghty, 845

F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S. 843 (1988).                 The

Fourth Circuit described the petitioner’s additional burden in a

post-guilty plea claim of ineffective assistance of counsel as

follows:

           When a [petitioner] challenges a conviction
           entered after a guilty plea, [the] “prejudice
           prong of the [Strickland] test is slightly
           modified. Such a defendant must show that
           there is a reasonable probability that, but
           for counsel’s errors, he would not have
           pleaded guilty and would have insisted on
           going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59; and Fields, 956 F.2d at 1297.

     In evaluating post-guilty plea claims of ineffective

assistance, statements previously made under oath affirming

satisfaction with counsel are deemed binding in the absence of

“clear and convincing evidence to the contrary.”             Fields, 956

F.2d at 1299, citing Blackledge v. Allison, 431 U.S. 63, 74-75

(1977).

     At the outset of this analysis, the Court notes that despite

his having filed several multi-page documents, the petitioner has

never asserted that but for counsel’s alleged ineffectiveness, he

                                    7


    Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05    Page 7 of 13
would not have pled guilty and would have insisted upon going to

trial.   Such omission is both telling and legally significant in

that it vastly undermines the petitioner’s ability to demonstrate

that he was prejudiced in this case.

     Turning now to the petitioner’s two claims--that counsel was

ineffective for having failed to object to the use of his prior

felony drug conviction in the calculation of minimum sentence on

the ground that such conviction involved his possession of, not

trafficking in, controlled substances, and that the conduct

underlying the conviction occurred during the life of the instant

conspiracy–-the Court finds the same do not entitle the peti-

tioner to any relief.

     First, the petitioner, himself, refers to the prior

conviction as one for a felony drug offense.          Thus, notwithstand-

ing whether such conviction was for the petitioner’s having

merely possessed the cocaine or his having manufactured, sold, or

distributed those substances, such distinction is inconsequential

since §841(b)(1)(A) is triggered when a defendant simply has

sustained a felony drug conviction of any kind prior to his

commission of the instant offense.      To put it another way, §841-

(b)(1)(A) requires this Court to elevate a defendant’s statutory

minimum mandatory term anytime he previously has sustained a

felony drug conviction, irrespective of the nature of the conduct

underlying that conviction.      Consequently, defense counsel could


                                    8


    Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 8 of 13
not have been ineffective for having failed to raise this parti-

cular challenge.

     Second, the petitioner cannot demonstrate any deficiency on

the basis of counsel’s failure to object to the Court’s use of

his prior conviction on the ground that such conviction was

sustained during the life of the instant conspiracy.              Indeed, in

United States v. Howard, 115 F.3d 1151, 1158 (4th Cir. 1997), the

Court held that convictions which were sustained during the

course of a conspiracy properly can support the imposition of a

sentencing enhancement.      In that case, the Court affirmed an

enhanced mandatory life sentence for a conspiracy conviction

which relied, at least in part, on prior convictions for conduct

which occurred while the conspiracy was continuing.

     Third, and most importantly, the petitioner cannot possibly

demonstrate any prejudice in connection with these two allega-

tions.   As the government correctly notes, even assuming the

Court erred in using the prior felony drug conviction to deter-

mine the petitioner’s statutory minimum mandatory sentence, that

error did not harm the petitioner in this case.              Rather, based

upon the petitioner’s stipulation to involvement with more than

1.5 kilograms of crack cocaine and his prior criminal record, his

Guidelines minimum mandatory term would have been higher than the

ten year statutory minimum mandatory term for which he argues.

That is, even if the petitioner’s statutory minimum term had been


                                    9


    Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05     Page 9 of 13
10 years, as he claims, that term still would have been replaced

by the higher 262-month minimum mandatory Guidelines term due to

the specific, uncontradicted facts of this case.

     Furthermore, as was noted already, the Court departed down

below the petitioner’s properly calculated Guidelines minimum

mandatory sentence and imposed a term which was nearly 10 years

lower than that 262-month sentence.        On these facts, then, the

petitioner clearly cannot demonstrate any prejudice based upon

counsel’s performance.

     Finally, on August 17, 2004, the petitioner filed a document

captioned as “Amendment [T]o Original Motion Under 28 USC §2255

Pursuant [T]o Rule 55(b)(2-3) [A]nd Rule 60(b) Fed.R.Civ.P.”                By

that document, the petitioner essentially is attempting to chal-

lenge his sentence under the recent decision in Blakely v.

Washington, 542 U.S. 296 (2004).        However, such untimely attempt

to raise a new claim must be flatly rejected inasmuch as the

holding from Blakely cannot be retroactively applied in this

collateral proceeding.      See United States v. Fowler, WL 146002

unpub’d (W.Va June 17, 2005) (noting that “neither Booker nor

Blakely announced a new rule of constitutional law made

retroactive by the Supreme Court to cases on collateral

review.”).

     Moreover, the petitioner’s sentence was not based upon his

involvement with some unproven amount of crack cocaine, but was


                                   10


   Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 10 of 13
based upon his admitted involvement with more than 1.5 kilograms

of crack.    Therefore, the petitioner’s proposed claim must be

rejected as futile in any event.         See New Beckley Mining Corp. v.

Int’l Union, 18 F.3d 1161, 1164 (4th Cir. 1994); accord Foman v.

Davis, 371 U.S. 178, 182 (1962).

                            III.   CONCLUSION

     The Court has conducted a careful review of the foregoing

Motions, along with the record of this matter and determined that

the petitioner has failed to forecast any evidence which can

support his claims for relief.      Similarly, the petitioner’s be-

lated attempt to press an additional challenge to his sentence is

not supported in law or fact.       Therefore, the petitioner’s

Motion to Vacate and his de facto motion for leave to amend must

be denied.

                               IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the petitioner’s de facto motion to amend (document

# 7) is DENIED;

     2.   That the government’s Motion for Summary Judgment

(document # 3) is GRANTED; and

     2.   That the petitioner’s’ Motion to Vacate (document # 1)

is DENIED and DISMISSED.

     SO ORDERED.



                                    11


   Case 5:01-cr-00005-KDB   Document 708    Filed 08/29/05   Page 11 of 13
                    Signed: August 29, 2005




                                12


Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 12 of 13
                                13


Case 5:01-cr-00005-KDB   Document 708   Filed 08/29/05   Page 13 of 13
